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                          Brett Weiss (#02980)
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                          301-924-4400 Phone
                          240-627-4186 Fax
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                          Attorney for Debtor


                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE DISTRICT OF MARYLAND


                              In re:
                                                                                      Case No. 21-10214 NVA
                              METS, LLC,
                                                                                      Chapter 11 (SBRA)
                                        Debtor.


                                              APPLICATION FOR COMPENSATION OF ACCOUNTANT
                                               IN A CASE UNDER SUBCHAPTER V OF CHAPTER 111


                                 NOW COMES the Debtor, and hereby requests entry of an order approving
                          compensation and reimbursement of expenses incurred on behalf of the Debtor by
                          Richard Colman and DCC Accounting Services, Inc. (“Accountant”) in this case under
                          Subchapter V of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
                          Code”). By this Application, Debtor requests that the Court allow an administrative claim
                          for fees of $11,650.00 and expenses of $0.00. Debtor submits this application pursuant to
                          §§ 330 and 503 of the Bankruptcy Code, and states as follows:

                                       1.       Date petition filed: January 12, 2021

                                       2.       Date plan confirmed: June 22, 2022 (Docket No. 122)



                          1
                            Use of this short form fee application was authorized for this case by the Court’s Initial Scheduling Order in this
                          case entered on January 15, 2021 at Docket No. 9. If an objection to the Application is filed, Applicant shall file a
                          supplemental memorandum within fourteen days that addresses in greater detail the factual and legal issues raised in
                          the objection.
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                                 3.       The Court authorized employment of Accountant by an Order entered in
                                          this case on March 18, 2021 (Docket No. 32).

                                 4.       Fees and expenses previously approved:

                                          a.     Fees: $0.00

                                          b.     Expenses: $0.00

                                 5.       Fees and expenses received to date:

                                          a.     Fees: $0.00

                                          b.     Expenses: $0.00

                                 6.       Time period covered by this Application: March 18, 2021 to June 15, 2022

                                 7.       Fees requested in this Application: $11,650.00

                                 8.       Total hours in this Application: N/A – Flat fees for services

                                 9.       Total expenses in this Application: $0.00

                                 10.      Total fees and expenses requested: $11,650.00

                                 11.      A brief billing statement is attached as Exhibit A.

                                 12.     Brief description of services: Accountant served as Debtor’s accountant as
                          detailed in the attached time records.

                                 13.     Accountant hereby affirms to the Court that the fees and expenses requested
                          by this Application are (i) for actual, reasonable, and necessary services rendered by
                          Accountant, and (ii) are based upon customary fees charged and generally approved by
                          this Court for services of this nature provided by comparably skilled professionals.

                                 14.     Applicant submits that this Application satisfies the lodestar formula and
                          factors set forth in § 330(a) of the Bankruptcy Code and in Johnson v. Georgia Highway
                          Express, Inc., 488 F.2d 714 (5th Cir. 1974) (as adopted by the Fourth Circuit in Barber v.
                          Kimbrells, Inc., 577 F.2d 216, 226 (4th Cir. 1978)).

                                 15.     No agreement or understanding exists between the Accountant and any
                          other person for the division or sharing of the compensation or expenses that are the
                          subject of this Application.
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                                 WHEREFORE, Debtor and Accountant pray that the Court enter an Order
                          approving the compensation and reimbursement of expenses as sought in this Application
                          as an allowed administrative expense priority claim.

                          SO STATED:


                          ___/s/ Richard Colman_____________
                          Richard Colman


                          Date: December 29, 2022                          Respectfully Submitted,

                                                                           THE WEISS LAW GROUP, LLC


                                                                           By: _______/s/ Brett Weiss________
                                                                               BRETT WEISS

                                                      CERTIFICATE OF SERVICE

                                 I hereby certify that on the 29th day of December, 2022, I reviewed the Court’s
                          CM/ECF system and it reports that an electronic copy of the above pleading will be
                          served electronically by the Court’s CM/ECF system on the following:

                          Monique Desiree Almy malmy@crowell.com
                          Nikita Rajendra Joshi Nikita.Joshi@bww-law.com
                          Katherine A. (UST) Levin Katherine.A.Levin@usdoj.gov
                          James C. Olson jolson@jamesolsonattorney.com
                          Hunter C. Piel hpiel@piellawfirm.com
                          US Trustee - Baltimore USTPRegion04.BA.ECF@USDOJ.GOV

                                 I hereby further certify that on the 29th day of December, 2022, a copy of the
                          above pleading was also mailed first class mail, postage prepaid, to:

                          20 Largest Unsecured Creditors:

                          Anne Arundel County Office of Law                Apex Financial Services, LLC,
                          Attn: Margaret V. Dall’Acqua                     2 Reservoir Circle Suite 100
                          2660 Riva Road 4th Floor                         Baltimore, MD 21208-6395
                          Annapolis, MD 21401-7180
                                                                           Bank of America
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                                                                      –3–
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                          PO Box 982238                                Meta Townsend
                          El Paso, TX 79998-2238                       136 Clarence Avenue
                                                                       Severna Park, MD 21146-1604
                          Internal Revenue Service
                          Centralized Insolvency Operations            Scott B. Wheat
                          PO Box 7346                                  502 Washington Ave., Suite 730
                          Philadelphia 19101-7346                      Towson, MD 21204-4525

                                                                       Richard Colman
                                                                       2 Reservoir Circle Suite 100
                                                                       Baltimore, MD 21208-6395

                          and to:

                          METS, LLC
                          136 Clarence Avenue
                          Severna Park, Maryland 21146

                                                                       ______/s/ Brett Weiss_______________
                                                                       BRETT WEISS




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